          Case: 23-2395    Document: 17    Page: 1   Filed: 01/10/2024




                                   2023-2395
                   (United States Patent and Trademark Office
                     Application Serial Number 29/685,345)


                    UNITED STATES COURT OF APPEALS
                                 for the
                           FEDERAL CIRCUIT




                   IN RE BONNIE IRIS McDONALD FLOYD
                                 Appellant


          Appeal from the United States Patent and Trademark Office
                        Patent Trial and Appeal Board
                Jennifer S. Bisk, Administrative Patent Judge


                   CORRECTED BRIEF FOR APPELLANT
(Corrected in response to NOTICE OF NON-COMPLIANCE of January 3, 2024)

                                                                Michael Drew
                                                              Attorney at Law
                                                       1814 SmokeRise Summit
                                                     Stone Mountain, GA 30087
                                                               (770) 714-6747

                                                          Attorney for Appellant

January 10, 2024
           Case: 23-2395     Document: 17    Page: 2    Filed: 01/10/2024




                        CERTIFICATE OF INTEREST

      The undersigned counsel for Appellant certifies the following:

1.    The full name of the sole party in this case, who is represented by me, is:

      Bonnie Iris McDonald Floyd

2.    The name of the real party in interest, who is represented by me, is:

      Bonnie Iris McDonald Floyd

3.    All parent corporation and any publicly held companies that own 10 percent
or more of the stock of the real party in interest represented by me are:

      None.

4.     The names of all law firms and the partners or associates that appeared for
the parties now represented by me in the agency or are expected to appear in this
court are:

      Michael Drew, Attorney at Law
                Case: 23-2395                  Document: 17                 Page: 3            Filed: 01/10/2024




                                               TABLE OF CONTENTS
                                                                                                                                         Page



CERTIFICATE OF INTEREST ............................................................................... ii

TABLE OF CONTENTS ......................................................................................... iii

TABLE OF AUTHORITIES ..................................................................................... v

STATUTES AND RULES .......................................................................................vi

I.      STATEMENT OF RELATED CASES........................................................... 1

II.     JURISDICTIONAL STATEMENT ................................................................ 1

III.    STATEMENT OF THE ISSUES PRESENTED FOR REVIEW ................... 2

IV.     STATEMENT OF THE CASE ....................................................................... 3

V.      STATEMENT OF THE FACTS ..................................................................... 4


VI.     SUMMARY OF THE ARGUMENT ............................................................ 10

VII. ARGUMENT ................................................................................................. 13

           A.     Standard of Review........................................................................................................... 13

           B. The Design Invention Claimed in Appellant’s ‘345 Design Application Is Entitled to the
           Benefit of the Filing Date of Appellant’s ‘938 Utility Application Under the Letter of the Law
           of 35 U.S.C. §120 and 35 U.S.C. §112 ...................................................................................... 14


           C.     Case Law of this Court Supports Applicant’s Priority Claim ........................................... 19
           Case: 23-2395             Document: 17             Page: 4         Filed: 01/10/2024




       D. In the Design Subject Matter of this case, the Number of Rectangles Comprising the
       Design is a functional Element Not Related to Ornamentality .................................................. 21


VIII. CONCLUSION AND STATEMENT OF RELIEF SOUGHT ..................... 22

ADDENDUM (with page numbers from Appendix)
Decision of the Patent Trial and Appeal Board (PTAB)
Application Serial Number 29/685,345 (ADS, Specification, Claim, Drawings)

Form 19 – CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
LIMITATIONS
              Case: 23-2395         Document: 17         Page: 5      Filed: 01/10/2024




                                 TABLE OF AUTHORITIES
                                                                                                Page(s)
Cases


Hyatt v. Boone, 146 F.3d 1348, 1352 (Fed. Cir. 1998)............................................ 20

In re Daniels, 144 F.3d 1452, 1455 (1998) ............................................................. 14


PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299 (Fed. Cir. 2008) .......20, 21


Purdue Pharma LP v. Faulding Inc., 230 F.3d 1320, 1323 (Fed.Cir.2000) ........... 21

Vas-Cath Inc. v Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991) ..................... 9, 21
                     Case: 23-2395                     Document: 17                   Page: 6            Filed: 01/10/2024




Statutes and Rules



28 U.S.C. § 1295 .......................................................................................................................................... 1


28 U.S.C. § 2107 .......................................................................................................................................... 1


35 U.S.C. § 102 ...................................................................................................................................... 7, 24

35 U.S.C. § 103 ......................................................................................................................................... 8, 9

35 U.S.C. § 112 ................................................................................................... 2, 11, 12, 13, 14, 15, 19, 20

35 U.S.C. § 120 .............................................................................................................. 2, 11, 12, 14, 19, 20

35 U.S.C. § 121 ........................................................................................................................................... 11

35 U.S.C. § 141 ......................................................................................................................................... 1, 3

35 U.S.C. § 142 ............................................................................................................................................. 1

35 U.S.C. § 171 ................................................................................................................................. 1, 15, 19

37 C.F.R. § 1.304 .......................................................................................................................................... 1

Other

Manual of Patent Examining Procedure 1502 ...................................................................................... 16, 19
        Case: 23-2395     Document: 17     Page: 7    Filed: 01/10/2024




I.    STATEMENT OF RELATED CASES

      Counsel for Appellant, on behalf of Appellant, hereby confirms that no

other appeal from the same proceeding in the United States Patent and

Trademark Office which is the subject of the instant appeal was previously

before this Court or any other appellate court. Counsel for Appellant is not

aware of any case pending in this or any other tribunal that will directly affect

or be affected by the Court’s decision in the pending case.



II.   JURISDICTIONAL STATEMENT

      This Court has exclusive jurisdiction over the present appeal under 28

U.S.C. § 1295(a)(4)(A) and 35 U.S.C. § 141. The present appeal is from a

Decision on Appeal by the Patent Trial and Appeal Board (PTAB) of the United

States Patent and Trademark Office (USPTO) affirming the final rejection of

the claim submitted by Appellant in United States Design Patent Application

Serial No. 29/685,345.

          The date of the Decision on Appeal by the PTAB, which is an

appealable final order, is July 6, 2023. A Notice of Appeal to this Court was

timely filed and served on the United States Patent and Trademark Office on

September 5, 2023, pursuant to 35 U.S.C. § 142, 37 C.F.R. § 1.304, 28 U.S.C.

§2107(b), and Fed. Cir. Rule 15(a)(1).
            Case: 23-2395     Document: 17     Page: 8    Filed: 01/10/2024




III.   STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

       Whether the Patent Trial and Appeal Board (“PTAB”) erred in finding that

the claimed design of the ‘345 design application was not described in an earlier

application under 35 U.S.C. §112, ¶1, and, therefore, is not entitled to the filing

date of the earlier filed ‘938 utility application under 35 U.S.C. §120.

       Whether the PTAB erred in finding that the Appellant’s design invention is

limited to a design pattern of a specific number of objects in an array.

       Whether the PTAB erred in finding that the design invention claimed in

Appellant’s ‘345 design application is not actually or inherently disclosed in

Appellant’s ‘938 utility application in compliance with 35 U.S.C. §112.

       Whether the PTAB erred in finding that Appellant’s ‘938 utility application

did not convey with reasonable clarity that Appellant was in possession of the

design invention claimed in Appellant’s ‘345 design application at the time the

‘938 utility application was filed.

       Whether the claim in Appellant’s ‘938 utility application is a part of the

written description of the specification thereof under 35 U.S.C. §112, and, as such,

helps provide adequate support under 35 U.S.C. §112 for Appellant’s claim for

priority under 35 U.S.C. §120.

       Appellant admits that if the claimed design of the ‘345 design application is

found not to be entitled to the filing date of Appellant’s earlier ‘938 application,
           Case: 23-2395     Document: 17     Page: 9    Filed: 01/10/2024




then the claimed design of Appellant’s ‘345 design application would be

anticipated by Appellant’s Pub. No. 20170027744.


IV.   STATEMENT OF THE CASE

      This is an appeal under 35 U.S.C. §141 from the DECISION ON APPEAL

(“PTAB Decision”) (Appx001-010) issued by the Patent Trial and Appeal Board

(“PTAB”) of the United States Patent and Trademark Office (“USPTO”) on July 6,

2023. In that PTAB Decision, the PTAB affirmed the Final Rejection of the single

claim of Design Application Serial Number 29/685,345 (“‘345 design

application”) (Appx012-025) filed by Appellant herein as inventor.

      Appellant, as Applicant in the ‘345 design application, filed the ‘345 design

application as a Divisional application of inventor’s/applicant’s previously-filed

Utility Application Serial Number 15/004,938 (“‘938 utility application”)

(Appx097-115). Appellant asserted priority to the ’938 utility application and

asserted benefit of the filing date thereof under 35 U.S.C. §120. In the prosecution

of the ‘345 design application, the USPTO Examiner (“the Examiner”) disallowed

Appellant’s claim of priority because “the number of the rectangular portions of

the blanket is different from those shown in the prior application.” (Appx028). The

Examiner then rejected the single substantive claim of the ‘345 design application

as being anticipated by the disclosure of the published version of the ‘938 utility

application.
           Case: 23-2395      Document: 17     Page: 10    Filed: 01/10/2024




             If Appellant’s ‘345 design application is able to claim the benefit of

the filing date of the ‘938 utility application, Appellant’s ‘938 utility application

cannot be used as the basis for rejection of Appellant’s ‘345 design application.

      Appellant filed the Notice of Appeal from the PTAB Decision on September

5, 2023.


V.    STATEMENT OF THE FACTS

      Appellant filed utility application serial number 15/004,938 (“’938 utility

application”) for an invention entitled COOLING BLANKET FOR HUMANS

AND ANIMALS on January 23, 2016. The ‘938 utility application was published

as Publication Number US 2017/0027744 (“Pub. No. 20170027744”) (Appx119-

127) on February 2, 2017. The ‘938 utility application became abandoned on

March 28, 2019.

      Prior to the abandonment of the ‘938 utility application, Appellant filed

design patent application serial number 29/685,345 (“’345 design application”)

(Appx012-025) on March 27, 2019, as a Divisional application of the ‘938 utility

application. The ‘345 design application was directed to an invention having the

same title as the invention of the ‘938 utility application, namely, COOLING

BLANKET FOR HUMANS AND ANIMALS. The ‘345 design application

included a claim to the benefit of priority to the ‘938 utility application.

(Appx013).
           Case: 23-2395     Document: 17    Page: 11   Filed: 01/10/2024




      The ‘938 utility application included the following drawings denoted Fig. 1

and Fig. 1A:




               The ‘345 design application included the following drawings denoted

Fig. 1 and Fig. 2:
          Case: 23-2395     Document: 17    Page: 12    Filed: 01/10/2024




1




 In response to the Examiner’s inquiry regarding the wavy lines in Fig. 1 and Fig.
2, Appellant indicated that the lines simulate contours and are not a part of the
claimed design. (Appx042).
           Case: 23-2395     Document: 17     Page: 13    Filed: 01/10/2024




      In the first Office Action of the ‘345 design application, dated September 24,

2020, (Office Action 09/24/2020) (Appx026-031), the USPTO Examiner (“the

Examiner”) challenged Appellant’s claim for the benefit of priority to Appellant’s

earlier-filed ‘938 utility application. The Examiner required that Appellant delete

the claim for priority “because [the] application [contained] the following matter

not disclosed in the prior-filed application: … the number of the rectangular

portions of the blanket is different than these shown in the prior application.” 2

Once the Examiner took the position that Appellant was not entitled to the benefit

of the priority date of the ‘938 utility application, the Examiner then cited the

published version of the ‘938 utility application, namely, Publication Number: US

2017/0027744 (“Pub. No. 20170027744 A1”) (Appx119-127), as the basis for

rejecting the subject matter claim of the ‘345 design application for this present

matter. The Examiner stated:

      The claim is rejected under 35 U.S.C. 102(a)(1) as being anticipated

      by the cooling blanket in applicant’s own US 2017002744 A1 because

      the claimed invention was patented, described in a printed publication,




 The Examiner also objected to the side view of Fig. 4. Applicant obviated this
ground for rejection of the priority claim by amending the application to claim only
the features shown in the perspective and plan views of Fig. 1 and Fig. 2.
(Appx042).
           Case: 23-2395     Document: 17     Page: 14    Filed: 01/10/2024




      or in public use, on sale or otherwise available to the public before the

      effective filing date of the claimed invention.

In support of the use of the anticipation finding, the Examiner stated “The

appearance of the cooling blanket in applicant’s prior utility application is

substantially the same as that of the claimed design.”

      In the second, and Final Rejection, Office Action dated March 31, 2021,

(“Office Action of 03/31/2021”) (Appx047-053), the Examiner repeated and

maintained the refusal to accept Appellant’s claim for priority to the ‘938

application and repeated the rationale stated above, namely, “because [the]

application [contained] the following matter not disclosed in the prior-filed

application: … the number of the rectangular portions of the blanket is different

than these shown in the prior application.”

      Appellant appealed the Final Rejection to the Patent Trial and Appeal Board

(PTAB”) of the USPTO. Appellant’s appeal to the PTAB was designated Appeal

2022-004172. The PTAB issued a decision on July 6, 2023, that affirmed the

Examiner’s disallowance of Appellant’s claim for priority to the ‘938 utility

application and the Examiner’s rejection of the claim in the application based upon

35 U.S.C. 102(a)(1). (Appx001-010). In the Office Action of 09/24/2020, the

Office Action of 03/31/2021, the Examiner also rejected the substantive claim

under 35 U.S.C. 103 as being unpatentable over Pub. No. 20170027744 A1 in view
           Case: 23-2395     Document: 17    Page: 15    Filed: 01/10/2024




of foreign patent document of inventor Wackenhuth identified by number

designation AT 250619 B (“Wackenhuth”) (Appx032-036). The PTAB reversed

the 35 U.S.C. 103 rejection based upon Wackenhuth. In its decision supporting the

denial of Appellant’s claim of priority to the ‘938 utility application, the PTAB

stated “In summary, nothing in the ’938 application leads to the precise visual

appearance represented in the 6x5 array configuration claimed here.” The PTAB

further stated:

      Accordingly, on this record, we agree with the Examiner that the ‘938

      application does not convey with reasonable clarity that, as of the

      filing date sought by Appellant, the inventor was in possession of the

      particular blanket design now claimed. Vas-Cath Inc. v Mahurkar,

      935 F.2d 1555, 1563 (Fed. Cir. 1991)
           Case: 23-2395     Document: 17      Page: 16    Filed: 01/10/2024




VI.   SUMMARY OF THE ARGUMENT

      Essentially, there is a single issue that is central to this case, namely,

whether these drawings from Appellant’s utility application, the ‘938 utility

application,




plus the Specification of the ‘938 utility application supports the priority claim in

Appellant’s ‘345 design application for the invention illustrated in these drawings:
           Case: 23-2395      Document: 17     Page: 17     Filed: 01/10/2024




      It is well-settled law that a design patent application is entitled to the

priority-claiming benefits of 35 U.S.C. §§120 and 121. These code sections

sometimes herein may be referred to as “§120” or “section 120” and “§121” or

“section 121.” Under these code sections, when a design patent application claims

priority from a utility parent application, case law from the courts including the

Court of Appeals for the Federal Circuit (“CAFC” or “this Court”) and its

predecessor court, the Court of Custom Claims and Patent Appeals (“CCPA”) have

rendered decisions affirming that design applications have the rights to claim

priority to utility applications and have clarified that the drawings of a prior utility

application help satisfy the “written description” requirement under 35 U.S.C.

§112 (“§112” or “section 112”) that is essential for claiming priority under §120.
            Case: 23-2395    Document: 17     Page: 18    Filed: 01/10/2024




       Under any objective standard set forth under US patent statutory law or

judicial interpretations of US patent statutory law the blanket claimed by Appellant

in the ‘345 design application is supported by the requisite disclosure in

Appellant’s ‘938 utility application.

       Under the plain letter of the law of §§120 and 112, the ‘938 utility

application discloses and describes the invention illustrated and claimed in the ‘345

design application. Only an impermissible restrictive reading of the applicable law

and court cases could justify the Examiner’s refusal to accept Appellant’s claim of

priority.

       Another fallacy in the Examiner’s disallowance of Appellant’s claim for

priority is the Examiner’s imposition of a rigid numerical limit to the rectangular

objects that form the pattern blankets in Appellant’s blankets. The ornamental

design of the ‘345 design application is manifested in a pattern comprising

rectangular objects set off by a cross-hatching of apertured narrow channels. The

disclosure of the ‘938 utility application does not describe any limitations as to the

number of objects that comprise the pattern formed. If anything, the disclosure

contains expansive language. The Examiner did not identify anything in the ’938

utility application or in patent law would validate the imposition of a numerical

component requirement as an element of the pattern disclosed.
           Case: 23-2395     Document: 17      Page: 19    Filed: 01/10/2024




      This Court has set forth at least two tests for sufficiency of disclosure of a

parent application necessary to support a claim for priority in a later-filed

application. One test may be denoted as an “inherency” test. Stated succinctly, the

inherency standard may be stated as whether the written description of the parent

disclosure actually or inherently discloses the claim element of the later-filed

application. Another test may be denoted as the “in-possession test,” that is,

whether the disclosure of the prior application conveys with reasonable clarity that

the inventor was in possession of the invention later claimed.

      The Examiner’s disallowance of Appellant’s claim for priority can only be

validated by ignoring settled patent law and ignoring the plain language and

drawings of the disclosure of the ‘938 utility patent application. The invention of

the ‘938 utility patent application includes a multiplicity of arrays, and there is

nothing in the ‘938 utility application that limits the features of the invention

including its ornamental features to only the two embodiments illustrated, thus the

design subject matter incorporated in the invention of the ‘938 utility application

also extends to a multiplicity of arrays as described in the ‘938 utility application.


VII. ARGUMENT

      A.     Standard of Review

      Compliance with the “written description” requirement of Section 112 is a

question of fact to be reviewed by this Court under the “clearly erroneous”
           Case: 23-2395    Document: 17      Page: 20    Filed: 01/10/2024




standard. Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563. (1991). Entitlement to

priority under §120 is a matter of law, and receives plenary review on appeal. In re

Daniels, 144 F.3d 1452, 1455 (1998).



      B.     The Design Invention Claimed in Appellant’s ‘345 Design

      Application Is Entitled to the Benefit of the Filing Date of Appellant’s

      ‘938 Utility Application under the Letter of the Law of 35 U.S.C. §120

      and 35 U.S.C. §112.

      The ability of an applicant for a US patent to claim the benefit of the filing

date of an earlier-filed related patent application is governed by 35 U.S.C. §120.

§120 reads as follows:

      35 U.S. Code § 120 - Benefit of earlier filing date in the United States
      An application for patent for an invention disclosed in the manner
      provided by section 112(a) (other than the requirement to disclose the
      best mode) in an application previously filed in the United States, or
      as provided by section 363 or 385, which names an inventor or joint
      inventor in the previously filed application shall have the same effect,
      as to such invention, as though filed on the date of the prior
      application, if filed before the patenting or abandonment of or
      termination of proceedings on the first application or on an application
      similarly entitled to the benefit of the filing date of the first
      application and if it contains or is amended to contain a specific
      reference to the earlier filed application. No application shall be
      entitled to the benefit of an earlier filed application under this section
      unless an amendment containing the specific reference to the earlier
      filed application is submitted at such time during the pendency of the
      application as required by the Director. The Director may consider the
      failure to submit such an amendment within that time period as a
      waiver of any benefit under this section. The Director may establish
          Case: 23-2395     Document: 17     Page: 21     Filed: 01/10/2024




      procedures, including the requirement for payment of the fee specified
      in section 41(a)(7), to accept an unintentionally delayed submission of
      an amendment under this section.


      Related §112(a) reads as follows:

      35 U.S. Code § 112 – Specification
      (a)IN GENERAL.—
      The specification shall contain a written description of the invention,
      and of the manner and process of making and using it, in such full,
      clear, concise, and exact terms as to enable any person skilled in the
      art to which it pertains, or with which it is most nearly connected, to
      make and use the same, and shall set forth the best mode
      contemplated by the inventor or joint inventor of carrying out the
      invention. (b)CONCLUSION.—
      The specification shall conclude with one or more claims particularly
      pointing out and distinctly claiming the subject matter which the
      inventor or a joint inventor regards as the invention.


      The ability of an inventor to obtain a design patent is governed by 35 U.S.C.

§171, which reads:

      35 U.S. Code § 171 - Patents for designs
      (a)In General.—
      Whoever invents any new, original and ornamental design for an
      article of manufacture may obtain a patent therefor, subject to the
      conditions and requirements of this title.
      (b)Applicability of This Title.—
      The provisions of this title relating to patents for inventions shall
      apply to patents for designs, except as otherwise provided.
      (c)Filing Date.—
      The filing date of an application for patent for design shall be the date
      on which the specification as prescribed by section 112 and any
      required drawings are filed.
           Case: 23-2395     Document: 17      Page: 22    Filed: 01/10/2024




      The Manual of Patent Examining Procedure (“MPEP”) of the USPTO which

provides guidance to USPTO examiners and to the public in general helps define

what is considered subject matter for a design patent application. MPEP section

1502 Definition of a Design contains the following language:

      The design for an article consists of the visual characteristics
      embodied in or applied to an article.
      Since a design is manifested in appearance, the subject matter of a
      design patent application may relate to the configuration or shape of
      an article, to the surface ornamentation applied to an article, or to the
      combination of configuration and surface ornamentation.


      The drawings and claim of Appellant’s ‘345 design application fulfill all of

the requirements for setting forth proper subject matter and properly claiming

priority to Applicant’s ‘938 utility application under the letter of the statutory law

quoted above and MPEP guidance which is based upon codified and judicially-

derived law.

      The ‘345 design application illustrates a blanket for which protection is

sought as follows:
          Case: 23-2395     Document: 17    Page: 23    Filed: 01/10/2024




      Appellant’s ‘345 design application contains a single claim that reads: “I

claim: The ornamental design for a Cooling Blanket for Humans and Animals, as

shown and described.”

      Appellant’s ‘938 utility application from which the ‘345 design application

clams priority includes the following drawings:
             Case: 23-2395   Document: 17    Page: 24   Filed: 01/10/2024




      Paragraph 25 of Pub. No. 20170027744, the published version of the ‘938

application, contains the following language: “As illustrated in FIGS. 1 and 1A, the

embodiment can be made in any size suitable for cooling the body core, or entire

body, of any human or animal.”

      Paragraph 26 of Pub. No. 20170027744, the published version of the ‘938

application, contains the following language: “While my description contains

many specifications, these should not be construed as limitations on the scope, but

rather as an exemplification of several embodiments. Many other variations are

possible.”

      Subparagraph “a” of Claim 1 of the ‘938 utility application reads as follows:

      The embodiment of claim 1, wherein two layers of material large
      enough to cover the body core of an adult and made up of one or more
      sheets of various materials are connected at the edges and at intervals
           Case: 23-2395      Document: 17     Page: 25    Filed: 01/10/2024




      to form seams, bonds, or welds and individualized compartments in
      plurality [emphasis added]


      The disclosure of the ‘938 utility application does not in any way limit the

disclosure of the blanket to restrict the invention or its applicable elements to

include only the specific number of rectangular objects shown in FIGS. 1 and 1A.

The applicable statutory authority cited (35 U.S.C. §§112, 120, and 171, and

MPEP section 1502 that are cited herein do not in any way contain language that

would require limiting the plain meaning of the disclosure of a patent application

upon which priority is claimed. The Examiner, as affirmed by the PTAB, only

recites an unsupported conclusory statement that the later filed ‘345 design

application is not entitled to a benefit of priority under the ‘938 utility application

solely because the number of constituent elements forming the patterns of arrays

differ. No authority is cited to support such a determination. The 6x6, 6x5, and

6x4 arrays all present the same ornamental design for the blankets of Appellant’s

invention. The USPTO does not articulate a legal rationale or practical rationale for

finding that these three arrays convey different ornamental designs.



      C.     Case Law of This Court Supports Appellant’s Priority Claim

      Decisions in several cases issued by this Court espouse principles that

support Appellant’s claim of priority in this case.
           Case: 23-2395     Document: 17      Page: 26    Filed: 01/10/2024




      In Hyatt v. Boone, 146 F.3d 1348, 1352 (Fed. Cir. 1998) this Court stated:

“The claims as filed are part of the specification, and may provide or contribute to

compliance with §112.”

      In PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299 (Fed. Cir. 2008),

this Court cited several principles applicable to the instant matter. Under the

section heading “II Written Description Requirement,” at page 1306, with

reference to Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563-64 (Fed.Cir.1991) ,

the Court stated: “To satisfy the written description requirement the disclosure of

the prior application must ‘convey with reasonable clarity to those skilled in the art

that, as of the filing date sought, [the inventor] was in possession of the

invention.’” Applicant believes that the ‘938 application clearly conveys that

applicant was in possession of the concept of a 6X5 array of rectangles for

applicant’s blanket.

      While referring to several more of its previous holdings, the Court in

PowerOasis went on to state: “While a prior application need not contain precisely

the same words as are found in the asserted claims … the prior application must

indicate to a person skilled in the art that the inventor was ‘in possession’ of the

invention as later claimed.” Although the ‘938 utility application does not include

the words 6X5 array and the drawings do not illustrate a 6X5 array, the ‘938 utility

application does specifically disclose arrays of 6X6 and 6X4 that in fact lie in
           Case: 23-2395     Document: 17      Page: 27    Filed: 01/10/2024




adjacent size juxtaposition with respect to a 6X5 array. The facts stated herein

clearly show that Appellant was “in possession” of the concept of a 6X5 array of

rectangles.

      In citing its holding in Purdue Pharma LP v. Faulding Inc., 230 F.3d 1320,

1323 (Fed.Cir.2000), the Court in PowerOasis stated: “… the disclosure does not

have to provide in haec verba support in order to satisfy the written description

requirement ....” This means that the ‘938 utility application was not required to

have a verbatim reference to a 6X5 array in order for the ‘345 design application to

have a valid priority claim to the ‘938 utility application.

      The PowerOasis case notes that what is required in the application from

which priority is claimed is “that the written description actually or inherently

disclose the claim element” in question in the application that is claiming priority.

It is easily reasoned that the ‘938 utility application does disclose arrays having a

plurality of “individualized compartments” (rectangles) which would include a

6X5 array, and, without question, the ‘938 utility application “inherently”

discloses a 6X5 array.



      D.   In the Design Subject Matter of This Case, the Number of
      Rectangles Comprising the Design Is a Functional Element Not Related
      to Ornamentality
           Case: 23-2395      Document: 17      Page: 28    Filed: 01/10/2024




      The sole basis for the refusal to accept Appellant’s claim of priority to the

‘938 utility application is that “the number of rectangular portions of the blanket

[in the ‘345 design application] is different from those shown in the prior

application.” (Appx001-010; Appx012-025; Appx026-031). In the present design

application, the number of rectangular portions used to form the blanket is an

element of functionality related to providing a blanket of sufficient size to address

a proposed use. The ornamentality of Appellant’s blanket is characterized in the

rectilinear configurations disclosed in the ’938 utility application. In the ‘938

utility application, two embodiments are illustrated. The blanket embodiment

illustrated in FIG. 1 of the ‘938 utility application is a square rectilinear

configuration. The blanket embodiment illustrated in FIG. 1A of the ’938 utility

application is a rectangular rectilinear configuration. Both embodiments illustrate

a common ornamental theme. That ornamental theme is carried over to the ‘345

design application. Thus, in the present case applying a precise numerical

requirement as to the number of “rectangular portions” that comprise Appellant’s

blanket is an inappropriate focus upon a functional element.



VIII. CONCLUSION AND STATEMENT OF RELIEF SOUGHT
           Case: 23-2395      Document: 17     Page: 29    Filed: 01/10/2024




      Appellant is entitled to claim the benefit of priority to Appellant’s ‘938

utility application in its later-filed ‘345 design application because the ‘938 utility

application provides adequate support therefor.

      It is well-settled law that drawings in an earlier-filed patent application,

including a utility application, are considered to be a part of the §112 written

description of such earlier application that will support a claim for priority in a

later-filed application under section §120. By including drawings within the

meaning of the written description requirement of §112, the courts have expanded

upon the language of the patent statutes to carry out the legislative intent to treat

design patent subject matter equally with utility patent subject matter. The

PTAB’s affirmance of the limitation on the ability to pursue a design patent

application in this case is contrary to the plain language of the applicable statutes

and disclosure of the ‘938 “parent” application involved in this case. Furthermore,

excluding the subject matter of the ‘345 application from the benefits of priority

provided under patent law is contrary to the letter and intent of the statutes. In

addition, the finding reached by the PTAB in affirming the Examiner is in direct

conflict with the plain language of the disclosure of the ‘938 utility application.

      Appellant seeks reversal of the PTAB’s affirmance of the Examiner’s refusal

to accept Appellant’s claim of priority to the ‘938 utility application and, in turn,
          Case: 23-2395     Document: 17    Page: 30     Filed: 01/10/2024




the Examiner’s rejection of the claim of the ‘345 design application under 35

U.S.C. §102(a)(1).

                                      Respectfully submitted,

                                      /s/ Michael Drew

                                      Attorney for Appellant

1814 SmokeRise Summit
Stone Mountain, GA
(770) 714-6747
          Case: 23-2395    Document: 17   Page: 31   Filed: 01/10/2024




                                   2023-2395
                   (United States Patent and Trademark Office
                     Application Serial Number 29/685,345)


                    UNITED STATES COURT OF APPEALS
                                 for the
                           FEDERAL CIRCUIT




                   IN RE BONNIE IRIS McDONALD FLOYD
                                 Appellant


          Appeal from the United States Patent and Trademark Office
                        Patent Trial and Appeal Board
                Jennifer S. Bisk, Administrative Patent Judge


                  ADDENDUM TO BRIEF FOR APPELLANT
            (Decision of the Patent Trial and Appeal Board (PTAB))
 (Application Serial Number 29/685,345 (ADS, Specification, Claim, Drawings))


                                                                Michael Drew
                                                              Attorney at Law
                                                       1814 SmokeRise Summit
                                                     Stone Mountain, GA 30087
                                                               (770) 714-6747

                                                          Attorney for Appellant

January 10, 2024
Case: 23-2395   Document: 17   Page: 32   Filed: 01/10/2024




                       Appx001
Case: 23-2395   Document: 17   Page: 33   Filed: 01/10/2024




                       Appx002
Case: 23-2395   Document: 17   Page: 34   Filed: 01/10/2024




                       Appx003
Case: 23-2395   Document: 17   Page: 35   Filed: 01/10/2024




                       Appx004
Case: 23-2395   Document: 17   Page: 36   Filed: 01/10/2024




                       Appx005
Case: 23-2395   Document: 17   Page: 37   Filed: 01/10/2024




                       Appx006
Case: 23-2395   Document: 17   Page: 38   Filed: 01/10/2024




                       Appx007
Case: 23-2395   Document: 17   Page: 39   Filed: 01/10/2024




                       Appx008
Case: 23-2395   Document: 17   Page: 40   Filed: 01/10/2024




                       Appx009
Case: 23-2395   Document: 17   Page: 41   Filed: 01/10/2024




                       Appx010
Case: 23-2395   Document: 17   Page: 42   Filed: 01/10/2024




                       Appx012
Case: 23-2395   Document: 17   Page: 43   Filed: 01/10/2024




                       Appx013
Case: 23-2395   Document: 17   Page: 44   Filed: 01/10/2024




                       Appx014
Case: 23-2395   Document: 17   Page: 45   Filed: 01/10/2024




                       Appx015
Case: 23-2395   Document: 17   Page: 46   Filed: 01/10/2024




                       Appx016
Case: 23-2395   Document: 17   Page: 47   Filed: 01/10/2024




                       Appx017
Case: 23-2395   Document: 17   Page: 48   Filed: 01/10/2024




                       Appx018
Case: 23-2395   Document: 17   Page: 49   Filed: 01/10/2024




                       Appx019
Case: 23-2395   Document: 17   Page: 50   Filed: 01/10/2024




                       Appx020
Case: 23-2395   Document: 17   Page: 51   Filed: 01/10/2024




                       Appx021
Case: 23-2395   Document: 17   Page: 52   Filed: 01/10/2024




                       Appx022
Case: 23-2395   Document: 17   Page: 53   Filed: 01/10/2024




                       Appx023
Case: 23-2395   Document: 17   Page: 54   Filed: 01/10/2024




                       Appx024
Case: 23-2395   Document: 17   Page: 55   Filed: 01/10/2024




                       Appx025
              Case: 23-2395        Document: 17         Page: 56       Filed: 01/10/2024



FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-2395

  Short Case Caption: In re: Floyd

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               4612      words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        01/10/2024                                                /s/Michael Drew
  Date: _________________                       Signature:

                                                Name:             Michael Drew




                                             Save for Filing
